Case 2:05-cv-02288-SHI\/|-dkv Document 4 Filed 06/28/05 Page 1 of 2 Page|D 1

IN THE. UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

LAWRENCE E. GILPIN
Appellant,
v. Case No.: 05-2288

J 0 ANNE B. BARNHART
Commissoner of Social Security
Appellee.

 

ORDER SE'I`TING SCI~IEDULING IN SOClAL SECURITY CASE

 

The issues in the above-referenced matter having been joined, it is hereby ordered that the
following schedule shall be foilowed:

1. Appellant shall file a brief in support of the asserted claim within 30 days of the
entry hereof.

2. Appellee’s brief in response shall be filed within 30 days of the filing of
appellant’S brief.

3. Reply brief may be filed within 10 days of the filing of appellee’s response brief.
No further briefs shall be filed without leave of Court.
Entered this 28 day of JUNE, 2005.
THOMAS l\/f. GOULD, CLE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02288 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

Lester T. Wener
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Honorable Samuel Mays
US DISTRICT COURT

